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1                                                            JUDGE BENJAMIN H. SETTLE

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5                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
6                                    AT TACOMA

7 UNITED STATES OF AMERICA,                   )     NO. CR10-5586BHS
                                              )
8                 Plaintiff,                  )
                                              )     ORDER GRANTING MOTION TO
9                 vs.                         )     STAY SENTENCE PENDING
                                              )     APPEAL
10 STEPHEN M. KELLY,                          )
   SUSAN S. CRANE,                            )
11 WILLIAM J. BICHSEL,                        )
   ANNE MONTGOMERY,                           )
12 LYNNE GREENWALD,                           )
                                              )
13                Defendants.                 )
                                              )
14
           Based on the unopposed motion of the defendants to stay the sentences pending
15
     appeal, NOW THEREFORE,
16
           IT IS HEREBY ORDERED that all financial burdens imposed by the Court’s
17
     April 28, 2011 sentencing, including all restitution, fines, and court costs are STAYED
18
     pending appeal.
19
           DATED this 27th day of May, 2011.




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23                                                      BENJAMIN H. SETTLE
                                                        United States District Judge
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     ORDER GRANTING MOTION TO STAY SENTENCE
     PENDING APPEAL
     United States v. Kelly, et al.; CR10-5586BHS   1
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1 Presented By:

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3                                      /s/ Jerome Kuh
                                       Jerome Kuh, Assistant Federal Public Defender
4
                                       Counsel for William Bichsel
5

6
                                       /s/ Roger Hunko
7                                      Roger Hunko
                                       Attorney for Steven Kelly
8

9

10                                     /s/ Paula Olson
                                       Paula Olson
11                                     Attorney for Susan Crane
12

13                                     /s/ Blake Kremer
14                                     Blake Kremer
                                       Attorney for Anne Montgomery
15

16
                                       /s/ Thomas Campbell
17                                     Thomas Campbell
                                       Attorney for Lynne Greenwald
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     ORDER GRANTING MOTION TO STAY SENTENCE
     PENDING APPEAL
     United States v. Kelly, et al.; CR10-5586BHS   2
